                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:05CV237-2-V
                           (5:03CR37-12-V)


SAMUEL BERNARD DAVIS, JR.     )
     Petitioner,              )
                              )
          v.                  )                O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s “Motion

to Vacate, Set Aside, or Correct” under 28 U.S.C. §2255,” filed

August 8, 2005.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on August

26, 2003, a three-Count Bill of Indictment was filed, charging

the petitioner (along with 14 other individuals) with conspiracy

to possess with intent to distribute five kilograms or more of

cocaine powder and 50 grams or more of cocaine base, all in

violation of 21 U.S.C. §846 (Count One); and with possession with

intent to distribute cocaine base, in violation of 21 U.S.C.

§841(a)(1) (Count Three).

     On February 3, 2004, the petitioner entered into a written

Plea Agreement with the government.         By the terms of the parties’

Agreement, the petitioner agreed to plead guilty to the




    Case 5:03-cr-00037-KDB   Document 343    Filed 08/31/05   Page 1 of 11
conspiracy charge set forth in Count One in exchange for the

government’s promise to dismiss Count Three.          In addition, the

petitioner stipulated that he could be held accountable for

involvement with in excess of 1.5 kilograms of cocaine base; that

the Base Offense Level for the subject offense was 38; that a two

level gun enhancement was appropriate under U.S. Sentencing

Guidelines §2D1.1; and that his Total Offense Level would be 40.

The parties further agreed that no other enhancements were

applicable in the petitioner’s case.

     Also under the terms of the Agreement, the petitioner waived

his right to challenge his case on direct appeal.            Similarly, the

petitioner limited his rights under 28 U.S.C. §2255, agreeing not

to raise any claims other than those alleging ineffective assis-

tance of counsel and/or prosecutorial misconduct in such a

collateral proceeding.

     On May 3, 2004, the Court conducted a Plea & Rule 11

Hearing, during which the undersigned engaged the petitioner in a

lengthy colloquy to ensure that his guilty plea was being intel-

ligently and voluntarily tendered.      After considering the

petitioner’s responses to the Court’s numerous questions--

including his assurances that he understood and agreed to all of

the terms of his Plea Agreement--the Court conditionally accepted

the petitioner’s guilty plea.

     Next, on November 2, 2004, the government’s “Motion For A


                                    2


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 2 of 11
Downward Departure . . . ” was filed.       According to the

government, based upon the petitioner’s offense level and his

criminal history (which included 23 criminal history points,

placing him in criminal history category VI), the petitioner was

facing a Guidelines sentence of 360 months to life imprisonment.

However, the petitioner had provided substantial assistance to

the government; therefore, the government asked the Court to

reduce the petitioner’s Offense Level to 31, and to impose a

sentence of 188 months imprisonment.

     Also on November 2, 2004, the Court held a Factual Basis &

Sentencing Hearing in this matter.      During that Hearing, the

petitioner reiterated both his desire to have the Court accept

his guilty plea and his intention to proceed pursuant to his Plea

Agreement.

     Next, the Court granted the government’s Motion for a

Downward Departure.    Accordingly, after hearing from the parties,

the Court sentenced the petitioner to a term of 188 months

imprisonment.   The petitioner did not directly appeal his case.

     Rather, on August 8, 2005, the petitioner filed the instant

Motion to Vacate.    Such Motion alleges that the Court erred in

applying the two-level firearm enhancement under U.S.S.G. §2D1.1;

and that counsel was ineffective for having failed to challenge

the subject enhancement.

     The Court has carefully reviewed the instant Motion along


                                    3


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 3 of 11
with the relevant documents from the record, and the Court has

determined that this Motion should be summarily denied and

dismissed for lack of merit.

                             II.   ANALYSIS

          1.   The petitioner’s challenge to his sen-
               tence is barred by his waiver as set
               forth in his Plea Agreement.

     The Fourth Circuit has repeatedly approved the knowing and

voluntary waiver of a defendant’s right to appeal.           See, e.g.,

United States v. General, 278 F.3d 389, 399-01 (4th Cir.), cert.

denied, 536 U.S. 950 (2002); United States v. Brown, 232 F.3d 399

(4th Cir. 2000); United States v. Marin, 961 F.2d 493, 496 (4th

Cir. 1992); United States v. Davis, 954 F.2d 182, 185-86 (4th

Cir. 1992); United States v. Wessells, 936 F.2d 165 (4th Cir.

1991); and United States v. Wiggins, 905 F.2d 51, 52-54 (4th Cir.

1990) (noting that defendant may waive right to appeal, just as

he may waive more fundamental rights such as the right to counsel

and the right to a jury trial).

     In the case at bar, the petitioner was represented by

counsel during the periods in which he entered into his Plea

Agreement and tendered his guilty plea to the Court.            Addition-

ally, the record reflects that during his Plea & Rule 11 Hearing,

the petitioner swore that he understood the terms of his

Agreement, including the waiver provision; and that he was

knowingly and voluntarily waiving his right to a direct appeal


                                    4


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 4 of 11
and to collaterally challenge any matters besides ineffective

assistance of counsel or prosecutorial misconduct.           Indeed, even

at this point, the petitioner does not challenge his Plea

Agreement or the validity of the waiver provisions set forth

therein.   Thus, notwithstanding his current assertion of

ineffective assistance of counsel--which does not relate in any

way to the petitioner’s Plea Agreement, there simply is no reason

why the petitioner’s waiver should not be enforced in this case.

     Accordingly, the Court finds that the waiver contained in

petitioner’s Plea Agreement is enforceable, and that only the

petitioner’s claim of ineffective assistance of counsel is cog-

nizable by the Court.

           2.   The petitioner cannot demonstrate either
                deficient performance or prejudice on his
                claim of ineffective assistance of counsel.

     As for his other claim, there the petitioner alleges that

counsel was ineffective for having allowed the Court to apply the

two-level firearm enhancement when he was never actually

convicted of a firearm offense.      However, as the Court will

explain below, this claim must fail, ultimately because the

petitioner is mistaken as to the significance of his not having

been convicted of a gun charge.

     With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an objec-


                                    5


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 5 of 11
tive standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable pro-

fessional assistance. Id. at 689; see also Fields v. Attorney

Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied,

474 U.S. 865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31

(4th Cir. 1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo

v. Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Furthermore, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.              Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).    Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993).        Under these circumstances, the petitioner

“bears the burden of proving Strickland prejudice.”              Fields, 956

F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.              If the peti-

tioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”          Fields, 956 F.2d at 1290,

citing Strickland, 466 U.S. at 697.


                                      6


    Case 5:03-cr-00037-KDB     Document 343   Filed 08/31/05   Page 6 of 11
     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.      See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845

F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                 The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective assis-

tance, statements previously made under oath affirming

satisfaction with counsel are deemed binding in the absence of

“clear and convincing evidence to the contrary.”             Fields, 956

F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75

(1977).

     At this point, the Court believes it is significant to note

that despite his having filed the instant multi-page Motion, no

where in this document does the petitioner assert or otherwise

suggest that but for counsel’s alleged ineffectiveness, he would

                                    7


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05    Page 7 of 11
not have pled guilty and would have insisted upon going to trial.

Such omission is both telling and legally significant in that it

vastly undermines the petitioner’s ability to demonstrate that he

was prejudiced in this case.

     In any event, the record forecloses the petitioner’s

entitlement to relief here.       To put it plainly, as was noted in

the Court’s factual recitation, the petitioner stipulated to the

application of the two-level firearm enhancement under the terms

of his Plea Agreement.       In addition, the petitioner’s Pre-

sentence Report described him as a street level dealer who

“routinely” carried firearms during his drug trafficking

activities.   Significantly, the petitioner has never objected to

this description.

     Consequently, notwithstanding the absence of an actual fire-

arm charge or conviction, both the petitioner’s stipulation and

the information set forth in his Pre-sentence Report support the

Court’s decision to include the two-level enhancement in its

sentence calculations.       It goes without saying, therefore, that

counsel was not ineffective for having decided not to challenge

the subject enhancement.

     Furthermore, the Court notes that even if the two-level

enhancement had not been included in its calculations, the

petitioner still would have been facing a sentence which was far

greater than the one that he ultimately received.             That is, in


                                     8


    Case 5:03-cr-00037-KDB    Document 343   Filed 08/31/05   Page 8 of 11
the absence of the two-level increase, the petitioner’s Guide-

lines sentencing range would have been 292 to 365 months

imprisonment.   However, inasmuch as the petitioner did not

receive a sentence in that range, but rather received a sentence

which was 104 months less than the lowest point in the range for

which he now is arguing, he clearly cannot demonstrate any

prejudice in connection with this claim.

                             III.   CONCLUSION

     The record of this matter reflects that the petitioner

waived his right to challenge his sentence, and that he is not

entitled to any relief on his remaining claim against counsel.

Therefore, the instant Motion to Vacate will be denied and

dismissed.

                                IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.




                                     9


    Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 9 of 11
                    Signed: August 31, 2005




                                10


Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 10 of 11
                                11


Case 5:03-cr-00037-KDB   Document 343   Filed 08/31/05   Page 11 of 11
